                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                             )
                                                     )      Case No. 1-09-CR-28
v.                                                   )
                                                     )      JUDGE COLLIER
MICHAEL JAMES                                        )      MAGISTRATE JUDGE LEE
JAHALA SANDERS                                       )
JASON SANDERS                                        )

                               MEMORANDUM & ORDER
                             ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, the arraignment
of the above named defendants on the indictment returned by the Grand Jury was held before the
undersigned on March 10, 2009.

       Those present for the hearing included:

               (1) AUSA James Brooks for the USA.
               (2) The defendant, MICHAEL JAMES.
               (3) Atty. Rita LaLumia for defendant James.
               (4) The defendant, JAHALA SANDERS.
               (5) Atty. Bryan Hoss for defendant Jahala Sanders.
               (6) The defendant JASON SANDERS.
               (7) Atty. Rich Heinsman for defendant Jason Sanders.
               (8) Courtroom Deputy Kelli Jones.

        After being sworn in due form of law the defendants were informed or reminded of their
privilege against self-incrimination accorded them under the 5th Amendment to the United States
Constitution.

       It was determined the persons present were the defendants named as defendants in the
indictment. Each of the defendants acknowledged having been provided with a copy of the
indictment and having the opportunity of reviewing the indictment with their respective
attorneys.

       Each of the defendants waived a formal reading of the indictment in open court and
entered pleas of not guilty to all counts charging them with criminal offenses.

      Presently, the cases are assigned the dates set forth in a separate Discovery and
Scheduling Order filed with this Court.

       ENTER.

       Dated: March 10, 2009                         s/William B. Mitchell Carter
                                                     UNITED STATES MAGISTRATE JUDGE

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